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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 MORGAN MURRAY, individually and on
 behalf of all others similarly situated;
                                                  CIVIL ACTION NO.
                                  Plaintiff,
                                                  CLASS ACTION COMPLAINT

                                                  DEMAND FOR JURY TRIAL


        -v.-
 WEBCOLLEX, LLC dba CKS
 FINANCIAL, CUZCO CAPITAL
 INVESTMENT MANAGEMENT LLC and
 JOHN DOES 1-25,


                       Defendant(s).


       Plaintiff Morgan Murray (hereinafter, “Plaintiff” or “Murray”) brings this Class Action

Complaint by and through her attorneys, Stein Saks, PLLC, against Defendant Webcollex, LLC dba

CKS Financial (hereinafter “Defendant CKS”) and Defendant Cuzco Capital Investment

Management, LLC (hereinafter “Defendant Cuzco”) individually and on behalf of a class of all

others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

Plaintiff, which are based upon Plaintiff's personal knowledge.

                                        INTRODUCTION

       1.      Congress enacted the Fair Debt Collection Practices Act (“FDCPA”) in 1977 in

   response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

   that "abusive debt collection practices contribute to the number of personal bankruptcies, to

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 material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

 concluded that "existing laws…[we]re inadequate to protect consumers," and that "'the effective

 collection of debts" does not require "misrepresentation or other abusive debt collection

 practices." 15 U.S.C. §§ 1692(b) & (c).

    2.      Congress explained that the purpose of the Act was not only to eliminate abusive

 debt collection practices, but also to "insure that those debt collectors who refrain from using

 abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). After

 determining that the existing consumer protection laws ·were inadequate. Id. § l692(b),

 Congress gave consumers a private cause of action against debt collectors who fail to comply

 with the Act. Id. § 1692k.

                                JURISDICTION AND VENUE

    3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

 15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

 action pursuant to 28 U.S.C. § 1367(a).

    4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

 where a substantial part of the events or omissions giving rise to the claim occurred.


                                   NATURE OF THE ACTION

    5.      Plaintiff brings this class action on behalf of a class of Texas consumers under §1692

 et seq. of Title 15 of the United States Code, the FDCPA, and

    6.      Plaintiff is seeking damages and declaratory relief.




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                                            PARTIES

    7.      Plaintiff is a resident of the State of Texas, with her principle residence located at

 2446 Deer Run, County of Denton, Lewisville, TX 75067.

    8.      Defendant CKS is a "debt collector" as the phrase is defined in 15 U.S.C.

 § 1692(a)(6) and used in the FDCPA with an address at 505 Independence Parkway, Ste 300,

 Chesapeake, VA 23320.

    9.      Defendant Cuzco is a "debt collector" as the phrase is defined in 15 U.S.C.

 § 1692(a)(6) and used in the FDCPA with an address at 111 Great Neck Rd, Ste 506, Great

 Neck, NY 11021.

    10.     Upon information and belief, Defendant CKS is a company that uses the mail,

 telephone, and facsimile and regularly engages in business the principal purpose of which is to

 attempt to collect debts alleged to be due another.

    11.     Upon information and belief, Defendant Cuzco is a company that uses the mail,

 telephone, and facsimile and regularly engages in business the principal purpose of which is to

 attempt to collect debts alleged to be due another.

    12.     John Does l-25, are fictitious names of individuals and businesses alleged for the

 purpose of substituting names of Defendants whose identities will be disclosed in discovery and

 should be made parties to this action.




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                                      CLASS ALLEGATIONS

    13.      Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

 P. 23(a) and 23(b)(3).

    14.      The Class consists of:

             a. all individuals with addresses in the State of Texas;

             b. to whom Defendant CKS sent an initial collection letter attempting to collect a

                consumer debt;

             c. presumably on behalf of Defendant Cuzco;

             d. that failed to properly identify the name of the current creditor to whom the debt

                was allegedly owed;

             e. which letter was sent on or after a date one (1) year prior to the filing of this

                action and on or before a date twenty-one (21) days after the filing of this action.

    15.      The identities of all class members are readily ascertainable from the records of

 Defendants and those companies and entities on whose behalf they attempt to collect and/or

 have purchased debts.

    16.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

 partners, managers, directors and employees of the Defendants and their respective immediate

 families, and legal counsel for all parties to this action, and all members of their immediate

 families.

    17.      There are questions of law and fact common to the Plaintiff Class members, which

 common issues predominate over any issues involving only individual class members. The

 principal issue is whether the Defendants' written communications to consumers, in the forms

 attached as Exhibits A, violate 15 U.S.C. §§ 1692e and 1692g.



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    18.     The Plaintiff’s claims are typical of the class members, as all are based upon the same

 facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

 Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

 handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

 nor her attorneys have any interests, which might cause them not to vigorously pursue this

 action.

    19.     This action has been brought, and may properly be maintained, as a class action

 pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

 well-defined community interest in the litigation:

            a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                that the Plaintiff Class defined above is so numerous that joinder of all members

                would be impractical.

            b. Common Questions Predominate: Common questions of law and fact exist as

                to all members of the Plaintiff Class and those questions predominance over any

                questions or issues involving only individual class members. The principal issue

                is \whether the Defendants' written communications to consumers, in the forms

                attached as Exhibit A violate 15 U.S.C. § 1692e and §1692g.

            c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                The Plaintiffs and all members of the Plaintiff Class have claims arising out of

                the Defendants' common uniform course of conduct complained of herein.

            d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                class members insofar as Plaintiff has no interests that are adverse to the absent

                class members. The Plaintiff is committed to vigorously litigating this matter.



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                Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                complex legal issues, and class actions. Neither the Plaintiff nor her counsel has

                any interests which might cause them not to vigorously pursue the instant class

                action lawsuit.

            e. Superiority: A class action is superior to the other available means for the fair

                and efficient adjudication of this controversy because individual joinder of all

                members would be impracticable. Class action treatment will permit a large

                number of similarly situated persons to prosecute their common claims in a single

                forum efficiently and without unnecessary duplication of effort and expense that

                individual actions would engender.

    20.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

 is also appropriate in that the questions of law and fact common to members of the Plaintiff

 Classes predominate over any questions affecting an individual member, and a class action is

 superior to other available methods for the fair and efficient adjudication of the controversy.

    21.     Depending on the outcome of further investigation and discovery, Plaintiffs may, at

 the time of class certification motion, seek to certify a class(es) only as to particular issues

 pursuant to Fed. R. Civ. P. 23(c)(4).


                                    FACTUAL ALLEGATIONS

    22.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

 numbered above herein with the same force and effect as if the same were set forth at length

 herein.

    23.     Some time prior to August 24, 2017, an obligation was allegedly incurred to Celtic

 Bank.


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    24.     The Celtic Bank obligation arose out of transactions in which money, property,

 insurance or services were the subject of the transactions. Specifically, Plaintiff used the funds

 received from a Celtic Bank- Surge credit card to purchase primarily personal, family or

 household items.

    25.     The alleged Celtic Bank obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

    26.     Celtic Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

    27.     Celtic Bank or Defendant Cuzco, a debt collector, and the subsequent owner of the

 Celtic Bank debt, contracted the Defendant CKS to collect the alleged debt.

    28.     Defendants CKS and Cuzco collect and attempt to collect debts incurred or alleged

 to have been incurred for personal, family or household purposes on behalf of creditors using

 the United States Postal Services, telephone and internet.

                            Violation – August 24, 2017 Collection Letter

    29.     On or about August 24, 2017, Defendant CKS sent Plaintiff an initial contact notice

 (the “Letter”). See Letter at Exhibit A.

    30.     When a debt collector solicits payment from a consumer, it must, within five days

 of an initial communication, notify the consumer in writing of:

    (1) the amount of the debt;

    (2) the name of the creditor to whom the debt is owed;

    (3) a statement that unless the consumer, within thirty days after receipt of the notice,

    disputes the validity of the debt, or any portion thereof, the debt will be assumed to be

    valid by the debt collector;

    (4) a statement that if the consumer notifies the debt collector in writing within the thirty-

    day period that the debt, or any portion thereof, is disputed, the debt collector will obtain



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     verification of the debt or a copy of the judgment against the consumer and a copy of such

     verification or judgment will be mailed to the consumer by the debt collector; and

     (5) a statement that, upon the consumer's written request within the thirty-day period, the

     debt collector will provide the consumer with the name and address of the original creditor,

     if different from the current creditor. 15 U.S.C. § 1692g(a).

     31.     The FDCPA further provides that ''if the consumer notifies the debt collector in

 writing within the thirty day period . . . that the debt, or any portion thereof, is disputed . . . the

 debt collector shall cease collection . . . until the debt collector obtains verification of the

 debt . . . and a copy of such verification is mailed to the consumer by the debt collector.'' 15

 U.S.C. § 1692g(b).

     32.     Although a collection letter may track the statutory language, ''the collector

 nevertheless violates the Act if it conveys that information in a confusing or contradictory

 fashion so as to cloud the required message with uncertainty.'' Russell v. EQUIFAX A.R.S., 74

 F.3d 30, 35 (2d Cir. 1996) (''It is not enough for a debt collection agency to simply include the

 proper debt validation notice in a mailing to a consumer-- Congress intended that such notice

 be clearly conveyed.''). Put differently, a notice containing ''language that 'overshadows or

 contradicts' other language informing a consumer of her rights . . . violates the Act.'' Russell,

 74 F.3d at 34.

     33.     Defendants’ Letter fails to contain all the requirements as set forth in 15 U.S.C.

 §1692g. Specifically, this Letter deceptively fails to identify who the current creditor is to

 whom the alleged debt is owed.

     34.     The Letter lists Celtic Bank – Surge as the Creditor but nowhere does the Letter

 clearly identify who the current creditor is as is required by the FDCPA.



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      35.        The letter deceptively states that Defendant Cuzco purchased the Celtic Bank debt

  but still lists Celtic Bank as the Plaintiff’s creditor.

      36.        It is deceptive to not clearly state who the current creditor is in any collection letter

  sent to a consumer.

      37.        The FDCPA requires that the letter must specifically and clearly state who the

  creditor is.

      38.        Defendants have failed to provide the consumer with a proper, initial communication

  letter by failing to clearly identify the current creditor of the debt.

      39.        Plaintiff incurred an informational injury as Defendants failed to advise her of the

  identity of her current creditor.

      40.        Plaintiff was confused as to whom she allegedly owed the money and could not

  ascertain whether she actually owed the debt.

      41.        As a result of Defendants’ deceptive, misleading and unfair debt collection practices,

  Plaintiff has been damaged.


                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

      42.        Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

      43.        Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

      44.        Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

      45.        Defendant violated §1692e :

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           a. By making a false and misleading representation in violation of §1692e(10).


     46.      By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.

                                COUNT II
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                               §1692g et seq.

     47.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     48.      Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

     49.       Pursuant to 15 USC §1692g, a debt collector:

              Within five days after the initial communication with a consumer in connection with

     the collection of any debt, a debt collector shall, unless the following information is

     contained in the initial communication or the consumer has paid the debt, send the consumer

     a written notice containing –

                      i. The amount of the debt;

                  ii. The name of the creditor to whom the debt is owed;

                 iii. A statement that unless the consumer, within thirty days after receipt of the

                     notice, disputes the validity of the debt, or any portion thereof, the debt will

                     be assumed to be valid by the debt-collector;

                 iv. A statement that the consumer notifies the debt collector in writing within

                     thirty-day period that the debt, or any portion thereof, is disputed, the debt

                     collector will obtain verification of the debt or a copy of a judgment against

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                       the consumer and a copy of such verification or judgment will be mailed to

                       the consumer by the debt collector; and

                   v. A statement that, upon the consumer’s written request within the thirty-day

                       period, the debt collector will provide the consumer with the name and

                       address of the original creditor, if different from the current creditor.


       50.     Pursuant to 15 U.S.C. §1692g, a debt collector must clearly notify the consumer of

   the name of the creditor to whom the debt is owed. §1692g(a)(2).

       51.     This notice must be properly conveyed so that the consumer is clearly advised to to

   whom the alleged debt is owed.

       52.     Defendants violated this section by unfairly failing to advise Plaintiff as to the

   identity of the current creditor to whom she owed the debt.

       53.      By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

   conduct violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

   and attorneys’ fees.


                                 DEMAND FOR TRIAL BY JURY

       54.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

   a trial by jury on all issues so triable.

                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff Morgan Murray, individually and on behalf of all others similarly

situated, demands judgment from Defendant Webcollex, LLC dba CKS Financial and Defendant

Cuzco Capital Investment Management, LLC, as follows:




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     1.       Declaring that this action is properly maintainable as a Class Action and certifying

  Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

     2.       Awarding Plaintiff and the Class statutory damages;

     3.       Awarding Plaintiff and the Class actual damages;

     4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

  expenses;

     5.       Awarding pre-judgment interest and post-judgment interest; and

     6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

  just and proper.


     Dated: June 15, 2018                   Respectfully Submitted,

                                            STEIN SAKS, PLLC

                                            /s/ Yaakov Saks
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